       ^•^            Case 2:04-cv-09049-DOC-RNB Document 4776-10 Filed 02/05/09 Page 1 of 4 Page ID
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                              8
                                                                  UNITED STATES DISTRICT COURT
                              9
                                                              CENTRAL DISTRICT OF CALIFORNIA
                             10
                                                                       EASTERN DIVISION
                             11
                                        CARTER BRYANT, an individual,             CASE NO. CV 04--9049 SGL {RNBx}
                             12
                                                     Plaintiff,                   Consolidated with
                             13                                                   Case No. CV 04-09059
                                              vs.                                 Case No. CV 05-02727
                             14
                                        MATTEL, INC., a Delaware                  PROOF OF SERVICE
                             15         corporation,

                             16                      Defendant.
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            Case 2:04-cv-09049-DOC-RNB Document 4776-10 Filed 02/05/09 Page 2 of 4 Page ID
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                                                        PROOF OF SERVICE
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                   3           I am employed in the County of Las Angeles, State of California. I am over
                   4 the age of eighteen years and not a party to the within action; my business address is
                   5    NOW Messenger Service, 1301 West Second Street, Suite 206, Los Angeles,
                   6 ^ California 90026.
                   7           On February S, 2009, I served true copies of the following documents
                   8 i described as:
                   9                           SEE ATTACHED DOCUMENT LIST
                  10    on the parties in this action as follows:
                  11    Thomas J. Nolan, Esq.                         Patricia L. Glaser, Esq.
                     Skadden , Arps, Slate, Meagher &                 Glaser Weil Fink Jacobs & Shapi ro
                  12 Flom LLP                                         LLP
                        300 South Grand Avenue, Suite 3400            10250 Constellation Blvd,, 19th Flo or
                  13    Los An eles, CA 90071                         Los Angeles, CA 90067
                     Tel: {2^3) 687-5000                              Tel: (3I0^ 553-3000
                  14 Fax: (213) 687-5600                              Fax: {310) 556-2920
                     (Attorneys for Isaac Larian, MGA                 (Attorneys for Isaac Larian, MGA
                  15 Entertainment, Inc., MGAE de                     Entertainment, Inc. MGAE^de
                     Mexico , S.R.L. de C .V., MGA                    Mexico, S.R.L. de C^`.V., MGA
                  16 Entertainment (HK} Ltd.)                         Entertainment (HK) Ltd.)

                  17.
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                  18 Bingham McCutchen LLP                            Mitchell Silberberg
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                  19 Costa Mesa, CA 92626-1924                        Los Angeles, CA 90064
                     Tel: {714) 830-0600                              Tel: (310) 312-3119
                  20 Fax: {714) 830-0700                              Fax: {310) 231-8319
                      Attorney for OMNI SOS                           (Attorneys for Isaac Larian, MGA
                  21  NVESTORS, LLC)                                  EEntertainment, Inc. MGAE de
                                                                      Mexico , S.R.L. de C'.V., MGA
                  22                                                  Entertainment {HK} Ltd.}

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s                                                 #:149173



                       1           [^ ^ PERSONAL : B personally delivering the document listed above to
                            the person{s) at the address(es^ set forth above.
                       2

                       3          1 declare that I am employed in the office of a member of the bar of this court
                       4    at whose direction the service was made
                       5          Executed on February 5, 2009, at Los Angeles, California.
                       6

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                       8                                              Dave Quintana
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3   '                                             #:149174



                        1                                       DOCUMENT LIST
                        2
                        3           1. DECLARATION OF MICHAEL T. ZELLER IN SUPPORT OF
                        4              MATTEL, INC.'S OPPOSITION TO OMNI 808'5 EX PARTE
                                       APPLICATION TO INTERVENE
                        5
                        6           2. MATTEL, INC.'S APPLICATION TO FILE UNDER SEAL EXHIBITS
                                       3, 4, 22 AND 23 TO THE DECLARATION OF MICHAEL T. ZELLER
                        7              IN SUPPORT OF MATTEL, INC.'S OPPOSITION TO OMNI 80$'5 EX
                                       PARTE APPLICATION TO INTERVENE

                        9           3. [PROPOSED ORDER] RE MATTEL, INC.' S APPLICATION TO FILE
                       10               UNDER SEAL EXHIBITS 3, 4, 22 AND 23 TO THE DECLARATION
                                        OF MICHAEL T. ZELLER IN SUPPORT OF MATTEL, INC.'S
                       111              OPPOSITION TO OMNI 808'5 EX PARTE APPLICATION TO
                       12               INTERVENE

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